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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on March 16, 2023

UNITED STATES OF AMERICA
v.

CASEY TRYON-CASTRO, ADAM
' VILLARREAL, TROY WEEKS,
PATRICK BOURNES, MICAIAH
JOSEPH, and BENJAMIN SILVA.

Defendants.

CRIMINAL NO. 23-CR-35

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. § 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

18 U.S.C. § 111(a)(1), 2

(Assaulting, Resisting, or Impeding
Certain Officers, Aiding and Abetting)
18 U.S.C. § 2111, 2

(Robbery, Aiding and Abetting)

18 U.S.C. § 641, 2

(Theft of Government Property, Aiding
and Abetting)

18 U.S.C. § 1752(a)(1)

(Entering and Remining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(E)
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: (Impeding Passage Through the Capitol
Grounds or Building)

SUPERSEDING INDICTMENT

The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia, CASEY TRYON-
CASTRO, ADAM VILLARREAL, TROY WEEKS, PATRICK BOURNES, MICAIAH
JOSEPH, and BENJAMIN SILVA committed and attempted to commit an act to obstruct,
impede, and interfere with law enforcement officers, lawfully engaged in the lawful performance
of their official duties incident to and during the commission of a civil disorder which in any way
and degree obstructed, delayed, and adversely affected commerce and the movement of any article
and commodity in commerce and the conduct and performance of any federally protected
function.

(Civil Disorder, in violation of Title 18, United States Code, Section 23 1(a)(3))

COUNT TWO

On or about January 6, 2021, at or around 2:55 p.m. to 2:58 p-m., within the District of
Columbia, ADAM VILLARREAL, using a deadly and dangerous weapon, that is, a stick-like
object, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and
employee of the United States, and of any branch of the United States Government (including any
member of the uniformed services), that is, an officer with the United States Capitol Police, while
such officer or employee was engaged in and on account of the performance of official duties, and
where the acts in violation of this section involve physical contact with the victim and the intent
to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in

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violation of Title 18, United States Code, Sections 111(a)(1) and (b))

COUNT THREE

On or about January 6, 2021, at or around 3:00 p.m., within the District of Columbia,
-ADAM VILLARREAL did forcibly assault, resist, oppose, impede, intimidate, and interfere
with, an officer and employee of the United States, and of any branch of the United States
Government (including any member of the uniformed services), that is, C.W., an officer with the
Metropolitan Police Department, while such officer or employee was engaged in and on account
of the performance of official duties, and where the acts in violation of this section involve physical

contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in
violation of Title 18, United States Code, Sections | 11(a)(1) and 2)

COUNT FOUR

On or about January 6, 2021, at or around 3:02 p.m. to 3:05 p.m., within the District of
Columbia, CASEY TRYON-CASTRO did forcibly assault, resist, oppose, impede, intimidate,
and interfere with, an officer and employee of the United States, and of any branch of the United
States Government (including any member of the uniformed services), and any person assisting
such an officer and employee, that is, P.N., an officer from the Metropolitan Police Department,
while such officer or employee was engaged in and on account of the performance of official
duties, and where the acts in violation of this section involve physical contact with the victim and
the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

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COUNT FIVE

On or about January 6, 2021, at or around 3:02 p.m. to 3:05 p.m., within the special
maritime and territorial jurisdiction of the United States, CASEY JANE TRYON-CASTRO did
by force and violence, and by intimidation, take and attempt to take from the person or presence
of another, that is, P.N., an officer from the Metropolitan Police Department, a thing of value, that
is, a shield.

(Robbery and Aiding and Abetting, in violation of Title 18, United States Code, Sections
2111 and 2).

COUNT SIX

On or about January 6, 2021, at or around 3:02 p.m., within the District of Columbia,
TROY WEEKS, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an
officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and any person assisting such an officer and
employee, that is, Sergeant W.B., an officer from the Metropolitan Police Department, while such
officer or employee was engaged in and on account of the performance of official duties, and
where the acts in violation of this section involve physical contact with the victim and the intent

to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT SEVEN
On or about January 6, 2021, at or around 3:08 p.m. to 3:11 p.m., within the District of

Columbia, CASEY TRYON-CASTRO did forcibly assault, resist, Oppose, impede, intimidate,
and interfere with, an officer and employee of the United States, and of any branch of the United

States Government (including any member of the uniformed services), and any person assisting

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such an officer and employee, that is, an officer from the Metropolitan Police Department, while
such officer or employee was engaged in and on account of the performance of official duties, and
where the acts in violation of this section involve physical contact with the victim and the intent

to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in
violation of Title 18, United States Code, Sections 111(a)(1) and 2)

COUNT EIGHT

On or about January 6, 2021, at or around 3:08 p.m. to 3:09 p.m., within the District of
Columbia, MICAIAH JOSEPH did forcibly assault, resist, oppose, impede, intimidate, and
interfere with, an officer and employee of the United States, and of any branch of the United States
Government (including any member of the uniformed services), and any person assisting such an
officer and employee, that is, an officer from the Metropolitan Police Department, while such
officer or employee was engaged in and on account of the performance of official duties, and
where the acts in violation of this section involve physical contact with the victim and the intent
to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in
violation of Title 18, United States Code, Sections 111(a)(1) and 2)

COUNT NINE
On or about January 6, 2021, within the District of Columbia, ADAM VILLARREAL did
embezzle, steal, purloin, knowingly convert to his use and the use of another, and without
authority, sold, conveyed and disposed of any record, voucher, money and thing of value of the
United States and any department and agency thereof, that is, a United States Capitol Police riot

shield, which has a value of less than $1,000.

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(Theft of Government Property and Aiding and Abetting, in violation of Title 18,
United States Code, Sections 641 and 2)
COUNT TEN

On or about January 6, 2021, within the District of Columbia, CASEY TRYON-
CASTRO, MICAIAH JOSEPH, PATRICK BOURNES, TROY WEEKS, and BENJAMIN
SILVA did knowingly enter and remain in a restricted building and grounds, that is, any posted,
cordoned-off and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,

United States Code, Section 1752(a)(1))

COUNT ELEVEN

On or about January 6, 2021, within the District of Columbia, ADAM VILLARREAL did
knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off
and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting, without lawful authority to do so, and, during
and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a stick-
like object.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(1) and
(b)(1)(A))

COUNT TWELVE
On or about January 6, 2021, within the District of Columbia, CASEY TRYON-
CASTRO, MICAIAH JOSEPH, PATRICK BOURNES TROY WEEKS, and BENJAMIN

SILVA did knowingly, and with intent to impede and disrupt the orderly conduct of Government
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business and official functions, engage in disorderly and disruptive conduct in and within such
proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
restricted area within the United States Capitol and its grounds, where the Vice President was and
would be temporarily visiting, when and so that such conduct did in fact impede and disrupt the
orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation

of Title 18, United States Code, Section 1752(a)(2))

COUNT THIRTEEN

On or about January 6, 2021, within the District of Columbia, ADAM VILLARREAL did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions, and during and in relation to the offense,
did use and carry a deadly and dangerous weapon, that is, a stick-like object.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Sections

1752(a)(2) and (b)(1)(A))

COUNT FOURTEEN

On or about January 6, 2021, within the District of Columbia, CASEY TRYON-
CASTRO, MICAIAH JOSEPH, PATRICK BOURNES, TROY WEEKS, and BENJAMIN
SILVA did knowingly engage in any act of physical violence against any person and property in

a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
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within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))

COUNT FIFTEEN

On or about January 6, 2021, within the District of Columbia, ADAM VILLARREAL did
knowingly engage in any act of physical violence against any person and property in a restricted
building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the
United States Capitol and its grounds, where the Vice President was and would be temporarily
visiting, and, during and in relation to the offense, did use and carry a deadly and dangerous
weapon, that is, a stick-like object.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or

Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(4) and
(b)(1)(A))
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COUNT SIXTEEN
On or about January 6, 2021, within the District of Columbia, CASEY TRYON-
CASTRO, ADAM VILLARREAL, MICAIAH JOSEPH, PATRICK BOURNES, TROY
WEEKS, and BENJAMIN SILVA willfully and knowingly obstructed, and impeded passage
through and within, the United States Capitol Grounds and any of the Capitol Buildings.

(Impeding Passage Through the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(E))

A TRUE BILL:

FOREPERSON.

Attorney of the United States 1
and for the District of Columbia.

